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                         ____________________

                      No. 3:18-CV-00252-CWR-FKB

       SECURITIES & EXCHANGE COMMISSION,
                                                           Plaintiff,

                                    v.

       ARTHUR LAMAR ADAMS,
       et al.,
                                                        Defendants.
                         ____________________

                      ORDER APPOINTING RECEIVER
                        ____________________

          Before CARLTON W. REEVES, District Judge.
       Defendants engaged in a multi-million dollar Ponzi scheme
       that defrauded hundreds of investors. This order appoints a
       receiver to manage Defendants’ estates and describes the
       scope of receivership.
       Thirty applicants submitted receivership applications to the
       Court. This pool of men and women was extremely impres-
       sive and unusually diverse. Applicants included lawyers
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       (ranging from solo practitioners to partners in law firms
       larger than any in Mississippi), accountants, academics, and
       other professionals from a dozen states across the country.
       Out-of-state applicants recognized the talents of Mississippi
       attorneys by proposing substantive alliances with them. The
       Secretary of State was right to support an open application
       process, without which many would never have had the op-
       portunity to reveal their talents to this Court. Applicants of-
       fered compelling reasons for their appointment. The breadth
       and depth of their experiences made this Court’s choice a dif-
       ficult one.
       The Court considered many factors when screening applica-
       tions. A number of applicants lacked the appropriate profes-
       sional experience for this case. Some with the right experience
       proposed hourly rates that were too high to justify, including
       rates of over $1,000 an hour. Others proposed to work with
       partner professionals less qualified than others in the pool.
       Occasionally, applicants or the firms they partnered with had,
       in practicing before this Court, demonstrated that they are un-
       suited to serve as a receiver.
       Nearly all candidates, however, proposed laudable and bold
       steps to ensure that their recruitment and retention policies
       were inclusive. The Court was particularly impressed with
       members of the Mississippi bar who crossed long-established
       lines to forge entrepreneurial partnerships. The diversity of
       the applicant pool and the creativity of the respective pro-
       posals is worth noting.
       Encouraging diversity in the judiciary is not a cure-all for the
       lack of that feature in the broader legal profession. Nor is en-
       couraging diversity destined to result in true representation,



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       rather than tokenism masquerading as such. Nevertheless, in
       order to do justice, the judiciary must incorporate a wide ar-
       ray of experiences, facts, and perspectives into its deci-
       sionmaking processes – including the decisionmaking pro-
       cess of receivers, who act as extensions of the courts. When
       courts hire and appoint individuals to assist in their mission,
       they must ensure those opportunities are extended to all
       whom the judiciary serves. As this case proves, doing so en-
       hances – rather than diminishes – the quality of the applicant
       pool.
       Of all the candidate qualifications the Court took into account,
       perhaps the most important was the ability to exercise disin-
       terested and informed judgment. This case involves what
       may be the largest Ponzi scheme in Mississippi’s history, one
       in which many Mississippi residents and entities are entan-
       gled. Mississippi is a small state. The Receiver and her staff
       must be close enough to the state to understand its workings.
       But the Receiver must also be distant enough to preserve her
       impartiality, a key trait in a process that may involve clawing
       back funds from the connected and powerful. Many other-
       wise capable candidates were unequipped to navigate the real
       and apparent conflicts of interest their appointment would
       create.1
       After weighing the applicants’ professional experience,
       hourly rates, candor, judgment, and other qualifications, the
       Court believes that Alysson L. Mills, a member of the Missis-
       sippi bar and partner at the Louisiana firm of Fishman


       1 This should come as no surprise to the parties, given their discussion of
       a specific candidate’s conflicts of interest at the hearing on this matter.



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       Haygood, LLP, is best suited to be Receiver. Mills is a gradu-
       ate of the University of Mississippi School of Law, and clerked
       for Fifth Circuit Judge E. Grady Jolly. She has extensive fed-
       eral court experience, including representation of bankruptcy
       trustees and securities purchasers in suits involving fraud and
       mismanagement. She has authored Supreme Court briefs and
       frequently argues in the Fifth Circuit.
       Mills has proposed an experienced team of lawyers from Fish-
       man Haygood to serve as her counsel, including individuals
       who have handled matters involving Ponzi schemes, complex
       bankruptcy disputes, and securities arbitration. Her team has
       represented individuals, companies, pension funds, hospi-
       tals, cities, and states. Firm partner Brent B. Barriere’s experi-
       ence makes him particularly qualified to serve as primary
       counsel to the Receiver. Most team members will bill at rates
       not to exceed $275 an hour, while two partners will bill at
       rates not to exceed $325 an hour.
       The Court is satisfied that Mills has the experience, judgment,
       and talent to perform the duties and responsibilities of a re-
       ceiver and act as an officer of the Court. Therefore, it is hereby
       ORDERED that Alysson L. Mills is appointed to serve with-
       out bond as Receiver for the estate of the Receivership De-
       fendants, Arthur Lamar Adams and Madison Timber Proper-
       ties, LLC. The Receiver shall take possession of the entirety of
       the Receivership Defendants’ assets. The Receiver is author-
       ized to retain the services of Fishman Haygood, LLP and
       other appropriate professionals. The scope of receivership is
       as follows.




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                                       I
                   General Powers & Duties of Receiver
       The Receiver shall have all powers, authorities, rights, and
       privileges now possessed by the officers, managers, and in-
       terest holders of and relating to the Receivership Defendants,
       in addition to all powers and authority of a receiver at equity
       under all applicable state and federal law in accordance the
       provisions of 28 U.S.C. §§ 754, 959, and 1692, and Fed. R. Civ.
       P. 66, and shall assume and control the operation of the Re-
       ceivership Defendants and shall pursue and preserve all of
       their claims.
       No person holding or claiming any position of any sort with
       the Receivership Defendants shall possess any authority to act
       by or on behalf of the Receivership Defendants, with the ex-
       ception that attorneys representing Defendant Adams in U.S.
       v. Adams, Case No. 3:18-CR-0088-CWR-LRA (S.D. Miss) may
       continue their representation.
       The Receiver and her agents, acting within the scope of such
       agency as Retained Personnel, are entitled to rely on all out-
       standing rules of law and Orders of this Court and shall not
       be liable to anyone for their own good faith compliance with
       any order, rule, law, judgment, or decree. In no event shall the
       Receiver or Retained Personnel be liable to anyone for their
       good faith compliance with their duties and responsibilities
       as Receiver or Retained Personnel, nor shall the Receiver or
       Retained Personnel be liable to anyone for any actions taken
       or omitted by them except upon a finding by this Court that
       they acted or failed to act as a result of malfeasance, bad faith,
       gross negligence, or in reckless disregard of their duties.




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       The Receivership Defendants shall indemnify, defend, and
       hold harmless the Receiver and the Retained Personnel from
       and against all actions (pending or threatened and whether at
       law or in equity in any forum), liabilities, damages, losses,
       costs, and expenses, including but not limited to reasonable
       attorneys’ and other professionals’ fees, arising from conduct
       or omission of the Receiver and the Retained Personnel under
       the terms of this Order, except for any such conduct or omis-
       sion adjudged by this Court to be the result of gross negli-
       gence or willful misconduct.
       Subject to the specific provisions below, the Receiver shall
       have the following general powers and duties:
          (1) to use reasonable efforts to determine the nature,
          location, and value of all property interests of the Re-
          ceivership Defendants, including but not limited to
          monies, funds, securities, credits, effects, goods, chat-
          tels, lands, premises, leases, claims, rights and other as-
          sets, together with all rents, profits, dividends, interest
          or other income attributable thereto, of whatever kind
          and description, wherever located, which the Receiv-
          ership Defendants own, possess, have a beneficial in-
          terest in, or control directly or indirectly (“Receiver-
          ship Property” or, collectively, the “Receivership Es-
          tate”), including, but not limited to, (i) the following
          bank accounts: First Bank of Clarksdale, Account No.
          7315736, Southern Bancorp Account Nos. 6454774,
          6454367, and 6454359, and River Hills Bank Account
          No. 6755060 and (ii) Defendant Adams’ principal resi-
          dence located at 134 Saint Andrews Drive, Jackson,
          Mississippi, 39211;




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          (2) to use reasonable efforts to determine the nature
          and location of the books and records, client lists, ac-
          count statements, financial and accounting documents,
          computers, computer hard drives, computer disks, in-
          ternet exchange servers, telephones, personal digital
          devices and other informational resources, of whatever
          kind and description, wherever located, in possession
          of the Receivership Defendants, or issued by the Re-
          ceivership Defendants and in possession of third par-
          ties (“Receivership Records”);
          (3) to take custody, control, and possession of all Re-
          ceivership Property, Receivership Records, and any as-
          sets traceable to assets owned by the Receivership Es-
          tate; and, with prior approval of this Court upon ex
          parte request, institute such actions or proceedings to
          impose a constructive trust, to sue for and collect, re-
          cover, receive or take into possession from third parties
          all Receivership Property, Receivership Records, and
          any assets traceable to assets of the Receivership Es-
          tate;
          (4) to manage, control, operate, and maintain the Re-
          ceivership Estate and hold in her possession, custody,
          and control all Receivership Property, pending further
          Order of this Court;
          (5) to open bank accounts for the Receivership Defend-
          ants;
          (6) to use Receivership Property for the benefit of the
          Receivership Estate, making payments and disburse-
          ments and incurring expenses as may be necessary or




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          advisable in the ordinary course of business in dis-
          charging her duties as Receiver;
          (7) to take any action which, prior to the entry of this
          Order, could have been taken by the officers, manag-
          ers, and agents of and relating to the Receivership De-
          fendants; including the termination of any personnel
          that the Receiver deems appropriate;
          (8) to terminate any and all leases of the Receivership
          Defendants’ personal or real property, or to sell any of
          the Receivership Defendants’ personal or real prop-
          erty;
          (9) to access all of the Receivership Defendants’ bank
          accounts, securities accounts, and IT systems;
          (10) to collect any management or advisory fees due
          and owing to the Receivership Defendant;
          (11) to produce Receivership Defendants’ records and
          to share information as reasonably requested with the
          staff of the Commission without a subpoena;
          (12) with this Court’s approval, to engage and employ
          persons in her discretion to assist her in carrying out
          her duties and responsibilities hereunder, including
          but not limited to accountants, attorneys, securities
          traders, registered representatives, financial or busi-
          ness advisers, liquidating agents, real estate agents, fo-
          rensic experts, brokers, traders, or auctioneers;
          (13) to take such action as necessary and appropriate
          for the preservation of Receivership Property or to pre-
          vent the dissipation or concealment of Receivership
          Property;


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          (14) to obtain, by presentation of this Order, docu-
          ments, books, records, accounts, deposits, testimony,
          or other information within the custody or control of
          any person or entity sufficient to identify accounts,
          properties, assets, liabilities, or agents of and relating
          to the Receivership Estate or Receivership Defendants;
          (15) without further order of this Court, to issue sub-
          poenas for documents and testimony consistent with
          the Federal Rules of Civil Procedure;
          (16) to investigate and, following this Court’s approval
          upon ex parte request, to bring such legal actions based
          on law or equity in any state, federal, or foreign court
          as the Receiver deems necessary or appropriate in dis-
          charging her duties as Receiver;
          (17) following this Court’s approval upon ex parte re-
          quest, to file a petition in bankruptcy for either or both
          the Receivership Defendants if the Receiver deter-
          mines it to be necessary; and
          (18) to take such other action as may be approved by
          this Court.
                                      II
                 Duty to File Recommendation & Report
       Within 60 days, the Receiver shall file a report with the Court
       as to the status of the Receivership Estate. Such report shall
       include:
          (1) a description of all known assets of the Receivership
          Estate, their location, and to the extent possible, the Re-
          ceiver’s good faith estimate of the value of those assets;



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          (2) a list of secured creditors and other financial insti-
          tutions with an interest in the Receivership Estate;
          (3) to the extent practicable, a list of investors in the se-
          curities sold by the Receivership Defendants;
          (4) any other known liabilities of the Receivership Es-
          tate;
          (5) the Receiver’s preliminary plan for the administra-
          tion of the Receivership Estate, including a recommen-
          dation regarding whether bankruptcy cases should be
          filed for all or a portion of the assets subject to the re-
          ceivership, a recommendation as to the appropriate-
          ness of forfeiture proceedings for any assets subject to
          the receivership, and a recommendation as to whether
          litigation against third parties should be commenced
          on a contingent fee basis to recover assets for the ben-
          efit of the receivership;
          (6) to the extent not provided in response to the prior
          subject matters, the Receiver’s preliminary recommen-
          dation as to the most reasonable and efficient methods
          for recovery, liquidation, and distribution of the Re-
          ceivership Estate;
          (7) the Receiver’s recommendation as to whether the
          receivership created by this Order should be continued
          and the benefits of any such action; and
          (8) any additional information that the Receiver deems
          relevant.
       Upon consideration of this report, the Court shall consider
       whether to terminate the receivership or order such other re-
       lief as it deems appropriate.


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                                     III
              Injunction Against Interference with Receiver
       The Receivership Defendants and all persons receiving notice
       of this Order by personal service, facsimile, or otherwise, are
       hereby restrained and enjoined from directly or indirectly tak-
       ing any action or causing any action to be taken, without the
       express written agreement of the Receiver, which would:
          (1) interfere with the Receiver’s efforts to take control,
          possession, or management of any Receivership Prop-
          erty; such prohibited actions include but are not lim-
          ited to, using self-help or executing or issuing or caus-
          ing the execution or issuance of any court attachment,
          subpoena, replevin, execution, or other process for the
          purpose of impounding or taking possession of or in-
          terfering with or creating or enforcing a lien upon any
          Receivership Property;
          (2) hinder, obstruct, or otherwise interfere with the Re-
          ceiver in the performance of her duties; such prohib-
          ited actions include but are not limited to concealing,
          destroying, or altering records or information;
          (3) dissipate or otherwise diminish the value of any Re-
          ceivership Property; such prohibited actions include
          but are not limited to releasing claims or disposing,
          transferring, exchanging, assigning, or in any way con-
          veying any Receivership Property, enforcing judg-
          ments, assessments or claims against any Receivership
          Property or any Receivership Defendant, attempting to
          modify, cancel, terminate, call, extinguish, revoke, or
          accelerate the due date of any lease, loan, mortgage, in-
          debtedness, security agreement, or other agreement


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          executed by any Receivership Defendant or which oth-
          erwise affects any Receivership Property; or
          (4) interfere with or harass the Receiver, or interfere in
          any manner with the exclusive jurisdiction of this
          Court over the Receivership Estate.
       The Receivership Defendants and their past or present offic-
       ers, managers, and agents and all persons in active concert or
       participation with them, including any financial institution,
       shall provide the Receiver immediate access to and control
       and possession of Receivership Records and the Receivership
       Estate’s assets, including securities and property of any kind,
       real and personal, as well as all keys, passwords, entry codes,
       and the original of all books, records, documents, accounts,
       computer printouts, disks, and the like.
       The Receivership Defendants shall cooperate with and assist
       the Receiver in the performance of her duties, including by
       promptly acknowledging to third parties the Receiver’s au-
       thority to act on behalf of the Receivership Estate and by
       providing such authorizations, signatures, releases, attesta-
       tions, and access as the Receiver may reasonably request.
       The Receiver shall promptly notify the Court and the Com-
       mission of any failure or apparent failure of any person or en-
       tity to comply in any way with the terms of this Order.
                                     IV
                             Stay of Litigation
       The following Ancillary Proceedings, excluding the instant
       proceeding and all police or regulatory actions and actions of
       the Commission related to the above-captioned enforcement
       action, are stayed until further Order of this Court: all civil


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       legal proceedings of any nature, including but not limited to
       bankruptcy proceedings, arbitration proceedings, foreclosure
       actions, default proceedings, or other actions of any nature in-
       volving:
          (1) the Receiver, in her capacity as Receiver;
          (2) any Receivership Property, wherever located;
          (3) any of the Receivership Defendants, including sub-
          sidiaries and partnerships; or
          (4) any of the Receivership Defendants’ or Receiver-
          ship Estate’s past or present officers, directors, manag-
          ers, agents, or general or limited partners sued for, or
          in connection with, any action taken by them while act-
          ing in such capacity of any nature, whether as plaintiff,
          defendant, third-party plaintiff, third-party defendant,
          or otherwise.
       The parties to any and all Ancillary Proceedings are enjoined
       from commencing or continuing any such legal proceeding,
       or from taking any action, in connection with any such pro-
       ceeding, including but not limited to the issuance or employ-
       ment of process.
       All Ancillary Proceedings are stayed in their entirety, and all
       Courts having any jurisdiction thereof are enjoined from tak-
       ing or permitting any action until further Order of this Court.
       Further, as to a cause of action accrued or accruing in favor of
       one or more of the Receivership Defendants against a third
       person or party, any applicable statute of limitation is tolled
       during the period in which this injunction against commence-
       ment of legal proceedings is in effect as to that cause of action.




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       These provisions bar any person or entity, other than the Re-
       ceiver, from placing either of the Receivership Defendants in
       bankruptcy proceedings.
                                       V
                          Receiver Compensation
       The Receiver is to be paid her reasonable compensation and
       expense reimbursement from the Receivership Estate. Such
       compensation and expense reimbursement shall require the
       prior approval of this Court.
       Within 30 days after the end of each full month while the Re-
       ceivership is in effect, the Receiver shall apply to this Court
       for compensation and expense reimbursement from the Re-
       ceivership Estate through Monthly Fee Applications.
       Monthly Fee Applications shall contain representations that:
       (i) the fees and expenses included therein were incurred in the
       best interests of the Receivership Estate; and (ii) with the ex-
       ception of her Receivership application, the Receiver has not
       entered into any agreement, written or oral, express or im-
       plied, with any person or entity concerning the amount of
       compensation paid or to be paid from the Receivership Estate,
       or any sharing thereof.
       Monthly Fee Applications will be interim and will be subject
       to cost-benefit and final reviews at the close of the receiver-
       ship. At the close of the receivership, the Receiver will file a
       final fee application, describing in detail the costs and benefits
       associated with all litigation and other actions pursued by the
       Receiver during the course of the receivership.
       Monthly Fee Applications may, in the Court’s discretion, be
       subject to a holdback in the amount of 25% of the amount of



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       fees and expenses for each application filed with the Court.
       The total amounts held back during the course of the receiv-
       ership will be paid out at the discretion of the Court as part of
       the final fee application submitted at the close of the receiver-
       ship.
       At the close of the receivership, the Receiver shall submit a
       Final Accounting, in a format to be provided by Commission
       staff, as well as the Receiver’s final application for compensa-
       tion and expense reimbursement.
       This Order supersedes prior orders of this Court only to the
       extent they conflict.
       SO ORDERED, this the 22nd day of June, 2018.
                                               s/ CARLTON W. REEVES
                                            United States District Judge




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